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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

KTM AG,                                                   )
                                                          )   Case No. 21-cv-1280
                Plaintiff,                                )
                                                          )
                                                          )    Judge Gary S. Feinerman
v.                                                        )
                                                          )
THE INDIVIDUALS, CORPORATIONS,                            )
LIMITED LIABILITY COMPANIES,                              )
PARTNERSHIPS AND UNINCORPORATED                           )
ASSOCIATIONS IDENTIFIED                                   )
ON SCHEDULE A HERETO,                                     )
                                                          )
                Defendants.                               )

     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO CERTAIN DEFENDANTS

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff KTM AG hereby
dismisses with prejudice all causes of action in the complaint as to the Defendants identified below and in
Schedule A. No motions are pending relative to these Defendants. Each party shall bear its own
attorney’s fees and costs.
        No.     Defendant
        8       Karsewl
        10      Ketofa
        12      Koulate
        16      Letaerr
        21      lijiaobeimei
        22      Lilsis
        68      Pathfinder Auto
        83      Rich Maria
        91      Senyar
        106     SOLAWE
        121     Terisass
        122     TF Super Trade
        138     Umiway

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
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                               Respectfully submitted,
Dated: May 27, 2021            By:    s/Michael A. Hierl             _
                                      Michael A. Hierl (Bar No. 3128021)
                                      William B. Kalbac (Bar No. 6301771)
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                                      KTM AG
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on May 27, 2021.



                                                          s/Michael A. Hierl
